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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                     No. 2:12-md-02323-AB
INJURY LITIGATION                              MDL No. 2323


Kevin Turner and Shawn Wooden,                 Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

              v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                PROPOSED ORDER GRANTING MOTION FOR LEAVE
                      TO CONDUCT LIMITED DISCOVERY

       AND NOW, this _______ day of ___________________, 2014, after consideration of

the Motion of Sean Morey, Alan Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, Jeff

Rohrer, and Sean Considine for Leave to Conduct Limited Discovery, and any responses thereto,

it is hereby ORDERED that the motion is GRANTED.             Sean Morey, Alan Faneca, Ben

Hamilton, Robert Royal, Roderick Cartwright, Jeff Rohrer, and Sean Considine are granted leave

to conduct limited discovery.

                                                         BY THE COURT:

                                                         ________________________
                                                         ANITA B. BRODY
                                                         United States District Judge
